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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                            )
                                                   )    Chapter 7
 Bluefly Acquisition, LLC,                         )
                                                   )    Case No. 19-10207 (CSS)
                          Debtor.                  )
                                                   )
                                                   )
                                                   )
 Jeoffrey L. Burtch, Chapter 7 Trustee,            )
                                                   )    Adv. Pro. No. 21-50067 (CSS)
                          Plaintiff,               )
                                                   )
           v.                                      )
                                                   )
 Accessx, LLC, Accessx, LLC d/b/a Tribeca          )
 Fashion House and Accessx, LLC d/b/a              )
 ICON,                                             )

                          Defendant.
                                    NOTICE OF DISMISSAL

          Please take notice that the complaint in the above-captioned adversary proceeding is

hereby dismissed with prejudice. This adversary proceeding is hereby closed.




                                               LAW OFFICE OF SUSAN E. KAUFMAN, LLC

                                               /s/ M. Claire McCudden
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Dated: April 26, 2021
